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KRAMER LEVIN NAFTALIS & FRANKEL LLP
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Kevin B. Leblang

Special Counsel for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                 Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC.,                    et A,              08-13555 (JMP)

                                        Debtors.                      (Jointly Administered)



          SUMMARY SHEET PURSUANT TO UNITED STATES TRUSTEE
      GUIDELINES FOR REVIEWING APPLICATIONS FOR COMPENSATION
    AND REIMBURSEMENT OF EXPENSES FILED UNDER 11 U.S.C. 44 330 AND 331

                            SECOND INTERIM FEE APPLICATION
 Name of Applicant:         Kramer Levin Naftalis & Frankel LLP

 Role in the Case:          Special Counsel to Debtors and Debtors in Possession

 Date of Retention:         May 19, 2011, effective as of October 1, 2010

 Time Period:               June 1, 2011 - September 30, 2011

 Application:               Total Fees Requested: $51,334.65'
                            Total Expenses Requested: $2,435.53

 Prior Applications:        First Interim Fee Application, filed August 15, 2011, for the period from
                            January 1, 2011 through and including May 31, 2011 [Docket No. 19241]
                            Total Fees Requested: $131,057.10
                            Total Expenses Requested: $1,173.15
                            Total Fees Allowed: Pending
                            Total Expenses Allowed: Pending




 1 This amount includes the 20% of such fees held back pursuant to the Fourth Amended Interim Compensation
 Procedures Order (defined below).
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        SUMMARY OF SECOND INTERIM FEE APPLICATION OF ICRAMER LEVIN
        NAFTALIS & FRANKEL LLP FOR SERVICES RENDERED FOR THE PERIOD
                    JUNE 1, 2011 THROUGH SEPTEMBER 30.2011

                                          Summary of Professionals
                                                 Year
                                               Ailmitted
 TnneJieeer Name            Departineut        te:the;BAr        .Title         Hours   _Rate              &mint&
Lutgens, Christine           Employee             2000          Partner            8.2 $885.00              $7,257.00
                              Benefits
Schmidt, Robert T.          Bankruptcy           1990           Partner             1.4 $825.00             $1,155.00
Leblang, Kevin B.           Employment           1985           Partner            18.8 $775.00            $14,570.00
O'Neill, P. Bradley         Bankruptcy           1991           Partner              .2 $750.00               $150.00
Holtzman, Robert N.         Employment           1993           Partner             2.5 $740.00             $1,850.00
Kaye, Jordan                Bankruptcy           2004          Associate             .7 $690.00               $483.00
Knecht, Steven              Employment           1992           Special              .4 $670.00               $268.00
                                                               Counsel
Trast, Carissa R.            Employee            2008          Associate                .3   $570.00          $171.00
                              Benefits
Baker, Katrina              Employment           2009          Associate           22.4      $525.00           $11,760
                                                                                     .4      $570.00           $228.00
Rappaport, Jason            Bankruptcy           2009          Associate           33.1      $525.00        $17,377.50
                                                                                    2.9      $570.00         $1,653.00
Neunder, Lisa               Employment           2006          Associate              .4     $290.00           $116.00
                             SUBTOTAL                                              91.7                     $57,038.50
                                                     Minus 10% discount                                    ($5,703.85)
                                TOTAL                                       .      41.7                    $51„334.65


                                    Fee Summary by Matter Number
      nttter Number                     Project Category                        Him I'S                A mount
      097372-00013      Welfare Plans                                            0.30                   $171.00
      097372-00014      Savings Plan Committee                                   4.80                  $4,248.00
      097372-00017      Savings Plan                                             3.40                  $3,009.00
       097657-00077     Employment Advice                                        23.90             $16,684.50
       097657-00187     Newman (Barbara)                                         0.20                   $155.00
       097657-00197     Swabsin (Cynthia)                                        0.90                   $633.00
       097657-00200     Bennett (Margaret)                                       17.70                 $9,744.00
       097657-00202     Retention Matters/Fee Application                        40.50             $22,394.00
                               SUBTOTAL                                           91.7             $57,038.50
                                                  Minus 10% discount                               ($5,703.85)
                                TOTAL                                             91.7                 $51,334.65

  2In accordance with Kramer Levin's pre-Commencement Date practice with the Debtors, overall monthly fees are
  subject to a 10% discount.

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                                            Expense Category Summary

 Ex pease Category                                                                        nto At
  PHOTOCOPYING                                                                                     $27.20
 MESSENGER/COURIER                                                                             $390.69
  INSIDE MESSENGER                                                                                 $12.00
  POSTAGE                                                                                          $70.04
  TRANSCRIPT FEES                                                                            $1,935.60
  Total Expen ses
          . .........                                                                        $2;435.: 53


                                         Summary of Monthly Fee Statements

                        Period                         Re cpia it e d   Fe es        Ropes Expenses
                 6/1/2011 —6/30/2011                                    $16,689.15            $1,978.36
                  7/1/2011 — 7/31/2011                                  $13,581.45              $231.39
                  8/1/2011 — 8/30/2011                                  $11,471.40               $62.40
                  9/1/2011 —9/30/2011                                    $9,592.65              $163.38
                    ge co            Petiod                             $.51334:65            $2,435.53




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 Kevin B. Leblang

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 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re                                                              Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et al.,                             08-13555 (JMP)

                                          Debtors.                  (Jointly Administered)



  SECOND INTERIM APPLICATION OF KRAMER LEVIN NAFTALIS & FRANICEL
 LLP, SPECIAL COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION, FOR
  ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
           THE PERIOD JUNE 1, 2011 THROUGH SEPTEMBER 30, 2011

 TO THE HONORABLE JAMES M. PECK,
 UNITED STATES BANKRUPTCY JUDGE:

              Kramer Levin Naftalis & Frankel LLP ("Kramer Levin" or "Applicant"), special counsel

 for the above-captioned debtors and debtors-in-possession (collectively, the "Debtors"), as well

 as their non-debtor affiliates (collectively with the Debtors, "Lehman"), files the Second Interim

 Application of Kramer Levin Naftalis & Frankel LLP for Allowance of Compensation and

 Reimbursement of Expenses (the "Second Interim Fee Application" or this "Application"),

 pursuant to Sections 330 and 331 of Chapter 11 of Title 11 of the United States Code, 11 U.S.C.

 § 101 et seq. (the "Bankruptcy Code") and Rule 2016(a) of the Federal Rules of Bankruptcy

 Procedure (the "Bankruptcy Rules"), for the allowance of compensation for the professional

 services performed by the Applicant for the period commencing June 1, 2011, through and


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 including September 30, 2011 (the "Compensation Period"), and for reimbursement of its actual

 and necessary expenses incurred during the Compensation Period. In support of this Second

 Interim Fee Application, Kramer Levin respectfully represents the following:

                               Background of the Chapter 11 Cases

             1.   On September 15, 2008 and periodically thereafter (the "Commencement Date"),

 the Debtors filed voluntary petitions for relief under Chapter 11 of the Bankruptcy Code in the

 United States Bankruptcy Court for the Southern District of New York. These Chapter 11 cases

 have been consolidated for procedural purposes only and are being jointly administered under

 Case No. 08-13555 (IMP) pursuant to Bankruptcy Rule 1015(b). The Debtors are authorized to

 operate their businesses and manage their properties as debtors in possession pursuant to

 Sections 1107(a) and 1108 of the Bankruptcy Code.

             2.   On September 17, 2008, the United States Trustee for the Southern District of

 New York (Region 2) (the "U.S. Trustee") appointed the official committee of unsecured

 creditors pursuant to Section 1102 of the Bankruptcy Code (the "Creditors' Committee").

             3.   On September 19, 2008, a proceeding was commenced under the Securities

 Investor Protection Act of 1970 ("SIPA") with respect to Lehman Brothers Inc. ("LIM"). A

 trustee appointed under SIPA (the "SIPC Trustee") is administering LBI's estate.

             4.   On January 19, 2009, the U.S. Trustee appointed Anton R. Valukas as examiner

 in the above-captioned chapter 11 cases (the "Examiner") and by order, dated January 20, 2009

 [Docket No. 2583], the Court approved the U.S. Trustee's appointment of the Examiner. The

 Examiner issued a report of his investigation pursuant to Section 1106 of the Bankruptcy Code

 on March 11,2010 [Docket No. 7531].




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             5.    On May 26, 2009, the Court appointed a fee committee (the "Fee Committee")

 and approved a fee protocol (the "Fee Protocol") in the above-captioned chapter 11 cases

 pursuant to an order of the same date [Docket No. 3651].

             6.    On September 1, 2011, the Debtors filed a third amended joint chapter 11 plan

 (the "Plan") and disclosure statement (the "Disclosure Statement") [Docket Nos. 19627 and

 19629]. On September 1, 2011, the Bankruptcy Court entered an amended order [Docket No.

 19631] approving the Disclosure Statement, establishing solicitation and voting procedures in

 connection with the Plan, scheduling the confirmation hearing and establishing notice and

 objection procedures for the confirmation hearing.

             7.    On September 15, 2011, the Bankruptcy Court entered an order [Docket No.

 20016] approving a modification to the Disclosure Statement.

             8.    On December 6, 2011, the Bankruptcy Court entered an order [Docket No.

 23023] confirming the Plan.

                                       The Debtors' Businesses
             9.    Prior to the events leading up to these Chapter 11 cases, Lehman was the fourth

 largest investment bank in the United States. For more than 150 years, Lehman had been a

 leader in the global financial markets by serving the financial needs of corporations,

 governmental units, institutional clients and individuals worldwide.

             10.   Additional information regarding the Debtors' businesses, capital structures and

 the circumstances leading to the commencement of these Chapter 11 cases is contained in the

 Affidavit of Ian T. Lowitt Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

 Southern District of New York in Support of First-Day Motions and Applications, filed on

 September 15, 2008 [Docket No. 2].



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                                              Jurisdiction
            11.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b); this

 matter is a core proceeding under 28 U.S.C. § 157(b).

                          Kramer Levin as an Ordinary Course Professional
             12.   During the course of these cases, Kramer Levin has been providing legal services

 on behalf of the Debtors as a professional utilized in the ordinary course ("Ordinary Course

 Professional") pursuant to this Court's Amended Order Pursuant to Sections 105(a), 327, 328,

 and 330 of the Bankruptcy Code Authorizing the Debtors to Employ Professionals Utilized in the

 Ordinary Course of Business, dated March 25, 2010 [Docket No. 7822] (the "Amended OCP

 Order").

             13.   On October 31, 2008, the Debtors submitted the Notice of Second Amendment to the

 List of Ordinary Course Professionals (the "Second Amendment") [Docket No. 1326]. The

 Debtors included Kramer Levin in the Second Amendment as "Employment Counsel."

             14.   The Amended OCP Order authorizes the Debtors to pay compensation to and

 reimburse the expenses of Ordinary Course Professionals in the full amount billed by each such

 Ordinary Course Professional "upon receipt of reasonably detailed invoices indicating the nature of

 the services rendered and calculated in accordance with such professional's standard billing practices."

 In accordance with the Amended OCP Order, Kramer Levin provided services to the Debtors and

 was or will be compensated for those services upon the presentation of detailed invoices indicating the

 nature of the services rendered, which were calculated in accordance with Kramer Levin's standard

 billing practices.

             15.   The Amended OCP Order further provides that "payment to any one Ordinary

 Course Professional shall not exceed $1 million for the period prior to the conversion of,

 dismissal of, or entry of a confirmation in these chapter 11 cases (the "Chapter 11 Period")" and that

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 "in the event payment to any Ordinary Course Professional exceeds $1 million during the Chapter 11

 Period, such Ordinary Course Professional shall be required to file a retention application to be

 retained as a professional pursuant to sections 327 and 328 of the Bankruptcy Code. . . ."

            16.   Because Kramer Levin reached the $1 million compensation cap for Ordinary

 Course Professionals, the Debtors, on May 3, 2011, filed the Application of the Debtors Pursuant

 to Sections 327(e) of the Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy

 Procedure for Authorization to Employ and Retain Kramer Levin Naftalis & Frankel LLP as

 Special Counsel to the Debtors, Effective as of October 1, 2010 [Docket No. 165351 (the

 "Employment Application").

            17.   On May 19, 2011, the Court entered the Order Pursuant to Sections 327(e) of the

 Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy Procedure for Authorization

 to Employ and Retain Kramer Levin Naftalis & Frankel LLP as Special Counsel to the Debtors,

 Effective as of October 1, 2010 [Docket No. 16985] (the "Order Authorizing Employment").

 The Order Authorizing Employment authorized Kramer Levin to be compensated on an hourly

 basis and to be reimbursed for actual and necessary out-of-pocket expenses.

                            Compensation and Reimbursement Request

            18.   This Application has been prepared in accordance with the Amended Guidelines

 for Fees and Disbursements for Professionals in Southern District of New York Bankruptcy

 Cases adopted by the Court on November 25, 2009 (the "Local Guidelines"), the United States ,

 Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330, adopted on January 30, 1996 (the "UST Guidelines"),

 the Order Appointing Fee Committee and Approving Fee Application Protocol [Docket No.

 36511 (the "Fee Order") and the Fourth Amended Order Pursuant to Sections 105(a) and 331 of

 the Bankruptcy Code and Bankruptcy Rule 2016(a) Establishing Procedures for Interim Monthly

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 Compensation and Reimbursement of Expenses of Professionals [Docket No. 15997] (the

 "Fourth Amended Interim Compensation Procedures Order" and collectively with the Fee Order,

 the Local Guidelines and UST Guidelines, the "Guidelines"). Pursuant to the Local Guidelines,

 a certification of Kevin B. Leblang regarding compliance with same is attached hereto as

 Exhibit A.

             19.   Pursuant to the Second Interim Fee Application, Kramer Levin seeks: (i)

 allowance of compensation for professional services performed during the Compensation Period

 in the total amount of $51,334.65; and (ii) allowance of its actual and necessary expenses

 incurred during the Compensation Period in the total amount of $2,435.53. 3

             20.   During the Compensation Period the Applicant's attorneys and paraprofessionals

 expended a total of 91.7 hours for which compensation is requested.

             21.   During the Compensation Period, other than pursuant to the Amended OCP

 Order, Kramer Levin has received no payment and no promises for payment from any source for

 services rendered in connection with the matters covered by this Application. There is no

 agreement or understanding between the Applicant and any other person, other than members of

 the Applicant, for the sharing of compensation to be received for services rendered in these

 cases.

             22.   Except as otherwise set forth herein, the fees charged by the Applicant in these

 cases are billed in accordance with its existing billing rates and procedures set forth in the

 Employment Application in effect during the Compensation Period. Consistent with Kramer

 Levin's standard billing practices, the Applicant increased the hourly billing rates for its


 3In accordance with Kramer Levin's pre-Commencement Date practice with the Debtors, overall monthly fees are
 subject to a 10% discount. This discount was applied to the overall monthly fee amounts set forth in each Monthly
 Statement and is also reflected in the Compensation Period totals set forth in the Application.


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 associates effective September 1, 2011. The billing rates the Applicant charges for the services

 rendered by its professionals and paraprofessionals in these chapter 11 cases are the same rates

 that the Applicant charges for professional and paraprofessional services rendered in comparable

 non-bankruptcy matters. Such fees are reasonable based on the customary compensation

 charged by comparably skilled practitioners in comparable non-bankruptcy cases in a

 competitive national legal market.

             23.   Pursuant to the UST Guidelines, the Summary Sheet filed in connection with this

 Application includes a schedule setting forth all Kramer Levin professionals and

 paraprofessionals who have performed services in these chapter 11 cases during the

 Compensation Period, the capacity in which each such individual is employed by Kramer Levin,

 the department in which each individual practices, the hourly billing rate charged by Kramer

 Levin for services performed by such individual, the aggregate number of hours expended and

 fees billed, and the year in which each professional was first licensed to practice law in the state

 of New York,

             24.   Annexed hereto as Exhibit B is a schedule specifying the categories of expenses

 for which Kramer Levin seeks reimbursement, and the total amount for each such expense

 category.

             25.   Pursuant to the UST Guidelines, annexed hereto as Exhibit C is a summary of

 Kramer Levin's time records billed during the Compensation Period using project categories as

 hereinafter described.

             26.   The Applicant maintains computerized records of the time spent by all of the

 Applicant's attorneys and paraprofessionals in connection with the services rendered on the

 Debtors' behalf during these chapter 11 cases. These detailed time records were submitted to the



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 "Notice Parties" specified in the Fourth Amended Interim Compensation Procedures Order as

 part of the Monthly Statements (defined below). Copies of the final detailed time records for the

 Compensation Period are annexed hereto as Exhibit D. 4

            27.    On August 15, 2011, the Applicant filed its first interim fee application [Docket

 No. 19241] for the allowance of compensation for professional services rendered and for

 reimbursement of actual and necessary expenses incurred from January 1, 2011 through May 31,

 2011 seeking interim allowance of fees in the aggregate amount of $131,057.10 and the interim

 allowance of the reimbursement for actual and necessary expenses in the amount of $1,173.15.

             28.   During the Compensation Period, the Applicant provided the appropriate notice

 parties with the following monthly fee statements:

             •     For June 1, 2011 through June 30, 2011, fees of $16,689.15 and expenses of
                   $1,978.36 (the "June Statement");

             •     For July 1, 2011 through July 31, 2011 fees of $13,581.45 and expenses of
                   $231.39 (the "July Statement");

             •     For August 1, 2011 through August 30, 2011, fees of $11,471.40 and expenses of
                   $62.40 (the "August Statement"); and

             •     For September 1, 2011 through September 30, 2011, fees of $9,592.65 and
                   expenses of $163.38 (the "September Statement" and together with the June
                   Statement, the July Statement and the August Statement, collectively, "Monthly
                   Statements").

             29.   In total, the Applicant has submitted Monthly Statements during the

 Compensation Period for fees of $51,334.65 and expenses of $2,435.53. As of the date of this

 Application, no notice party has objected to the Applicant's Monthly Statements for the

 Compensation Period.


 4Given the sensitive and confidential nature of its work in certain areas, Kramer Levin has redacted its time detail
 for certain matters where necessary. Unredacted time records were submitted to the "Notice Parties" specified in the
 Fourth Amended Interim Compensation Procedures Order as part of the Monthly Statements.


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            30.    In accordance with the Fourth Amended Interim Compensation Procedures Order,

 the Applicant sought payment for 80% of its fees and 100% of its expenses incurred, pursuant to

 each Monthly Statement. With respect to the June Statement, the Applicant received a payment

 of $15,329.68, representing 80% of fees and 100% of expenses requested. With respect to the

 July Statement, the Applicant received a payment of $11,096.55, representing 80% of fees and

 100% of expenses. With respect to the August Statement, the Applicant received a payment of

 $9,239.52, representing 80% of fees and 100% of expenses. With respect to the September

 Statement, the Applicant received a payment of $7,837.50, representing 80% of fees and 100%

 of expenses.

            31.    To the extent that time or disbursement charges for services rendered or

 disbursements incurred relate to the Compensation Period, but were not processed before the

 preparation of this Application, Kramer Levin reserves the right to request additional

 compensation for such services, and reimbursement of such expenses in a future application.

                                        Summary of Services

             32.   The legal services rendered by the Applicant during the Compensation Period are

 summarized below. The following summary is not a detailed description of the work performed,

 as the day-to-day services and the time expended in performing such services are fully set forth

 in the detailed time records. Rather, in compliance with the UST Guidelines, the following

 summary highlights certain areas in which services were rendered by the Applicant to and for the

 benefit of the Debtors and their estates, and identifies some of the issues to which the Applicant

 devoted significant time and effort during the Compensation Period.

             33.   The summary is divided according to the project billing codes that the Applicant

 created to best reflect the categories of tasks that it was required to perform in connection with



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 these chapter 11 cases. Nevertheless, under the circumstances, and given the interconnectedness

 of all the issues in these chapter 11 cases, certain of these categories may overlap with each

 other.

             34.       The Applicant respectfully submits that its services throughout the Compensation

 Period warrant this Court's approval of its requested fees and expenses.

            A.         Welfare Plan
                       Billing Code: 097372-00013

                   • During the Compensation Period, the Applicant reviewed issues relating to the
                       VEBA application.

             B.        Savings Plan Committee
                       Billing Code: 097372-00014

                   •   During the Compensation Period, the Applicant reviewed and analyzed issues
                       related to the investment management agreement.

             C.        Savings Plan
                       Billing Code: 097372-00017

                   •   During the Compensation Period, the Applicant reviewed and analyzed employee
                       benefits and ER1SA related issues.

             D.        Employment Advice
                       Billing Code: 097657-00077

                   •   During the Compensation Period, the Applicant analyzed and researched issues
                       relating to the Wage Theft Protection Act, conducted a confidential investigation,
                       drafted a memo on the Fair Credit Reporting Act and advised on employee
                       termination issues.

             E.        Newman (Barbara)
                       Billing Code: 097657-00187

                   •   During the Compensation Period, the Applicant reviewed communications
                       received from B. Newman.

             F.        Swabsin (Cynthia)
                       Billing Code: 097657-00197

                   •   During the Compensation Period, the Applicant reviewed a New York State tax
                       subpoena.


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             G.        Bennett (Margaret)
                       Billing Code: 097657-00200

                   •   During the Compensation Period, the Applicant represented the Debtors in a post-
                       petition employment contract claim brought by a former employee. In connection
                       with this matter, the Applicant completed paper and electronic discovery, and
                       reviewed deposition transcripts.

             H.        Retention Matters/Fee Application
                       Billing Code: 097657-00202

                   •   During the Compensation Period, the Applicant performed a variety of services
                       relating to its retention and compensation, including, among other things: (i)
                       corresponded with the Debtors and/or their professionals regarding retention
                       issues and fee applications; (ii) reviewed time entries to ensure adherence to the
                       Guidelines; (iii) prepared and submitted compensation requests for fees and
                       expenses incurred from January through August; and (iv) drafted Kramer Levin's
                       first interim fee application.

                                          Statement of Kramer Levin

             35.       The foregoing professional services performed by the Applicant were appropriate

 and necessary to the administration of these cases and were in the best interests of the Debtors,

 the estates, the creditors, and other parties-in-interest. Compensation for the foregoing services

 as requested is commensurate with the complexity, importance and nature of the problems,

 issues and tasks involved. The professional services were performed in an appropriately

 expeditious and efficient manner.

             36.       The professional services performed by the Applicant on behalf of the Debtors

 during the Compensation Period required an aggregate expenditure of 91.7 recorded hours by the

 Applicant's partners, counsel and associates. Of the aggregate time expended, 31.5 recorded

 hours were expended by partners and counsel of the Applicant and 60.2 recorded hours were

 expended by associates.

             37.       During the Compensation Period, the Applicant's hourly billing rates for

 attorneys that provided services on behalf of the Debtors ranged from $290 to $885 per hour.


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 Allowance of compensation in the amount requested would result in a blended hourly billing rate

 for attorneys of approximately $559.81 per hour (based upon 91.7 recorded hours for attorneys at

 the Applicant's billing rates in effect at the time of the performance of services). Such fees are

 reasonable based on the customary compensation charged by comparably skilled practitioners in

 comparable bankruptcy cases in a competitive national legal market.

                       Actual and Necessary Disbursements of Kramer Levin

             38.   As set forth in Exhibit B hereto, the Applicant has disbursed $2,435.53 as

 expenses incurred in providing professional services during the Compensation Period. With

 respect to photocopying expenses, the Applicant charged $0.10 per page. The Applicant does

 not charge for facsimile transmissions, other than the cost of long distance facsimiles at

 applicable toll charge rates, which invariably are less than $1.25 per page as permitted by the

 Guidelines. Each of these categories of expenses does not exceed the maximum rate set by the

 Guidelines.

             39.   The Applicant has made every effort to minimize its disbursements in these cases.

 The actual expenses incurred while providing professional services were necessary, reasonable,

 and justified under the circumstances to serve the needs of the Debtors.

                          The Requested Compensation Should be Allowed

             40.   Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 to govern the Court's

 award of such compensation. 11 U.S.C. § 331. Section 330 of the Bankruptcy Code provides

 that a court may award a professional employed under section 327 of the Bankruptcy Code

 "reasonable compensation for actual necessary services rendered . . . and reimbursement for

 actual, necessary expenses." 11 U.S.C. § 330(a)(1). Section 330 of the Bankruptcy Code also

 sets forth the criteria for the award of such compensation and reimbursement:

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                  (3) In determining the amount of reasonable compensation to
                  be awarded to an examiner, trustee under chapter 11, or
                  professional person, the court shall consider the nature, the
                  extent, and the value of such services, taking into account all
                  relevant factors, including --

                        (A)       the time spent on such services;

                        (B)       the rates charged for such services;

                        (C)       whether the services were necessary to the
                        administration of, or beneficial at the time at which
                        the service was rendered toward the completion of, a
                        case under this title;

                        (D)        whether the services were performed within
                        a reasonable amount of time commensurate with the
                        complexity, importance, and nature of the problem,
                        issue, or task addressed;

                        (E)       with respect to a professional person,
                        whether the person is board certified or otherwise has
                        demonstrated skill and experience in the bankruptcy
                        field; and

                        (F)      whether the compensation is reasonable
                        based on the customary compensation charged by
                        comparably skilled practitioners in cases other than
                        cases under this title.

 11 U.S.C. § 330(a)(3).

            41.   In the instant case, Kramer Levin respectfully submits that the services for which

 it seeks compensation in this Application were, at the time rendered, believed to be necessary for

 and beneficial to the Debtors and their estates. Kramer Levin further submits that the services

 rendered to the Debtors were performed economically, effectively, and efficiently. Accordingly,

 the compensation requested herein is reasonable in light of the nature, extent, and value of such

 services to the Debtors, their estates, and all parties in interest.




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                                              Conclusion

             WHEREFORE, Kramer Levin respectfully requests entry of an order (i) allowing interim

 compensation for professional services rendered during the Compensation Period in the amount

 of $51,334.65, representing 100% of fees incurred during the Compensation Period, and

 reimbursement of $2,435.53, representing 100% of actual and necessary expenses incurred

 during the Compensation Period; (ii) authorizing and directing the Debtors' payment of the

 difference between the amounts allowed and the amounts previously paid by the Debtors

 pursuant to the Fourth Amended Interim Compensation Procedures Order; (iii) allowing such

 compensation for professional services rendered and reimbursement of actual and necessary

 expenses incurred be without prejudice to Kramer Levin's right to seek such further

 compensation for the full value of services performed and expenses incurred; and (iv) granting

 Kramer Levin such other and further relief as is just.



 Dated: December 14, 2011
        New York, New York
                                                  /s/ Kevin B. Leblang,
                                                  Kevin B. Leblang

                                                  KRAMER LEVIN NAFTALIS & FRANKEL LLP
                                                  Kevin B. Leblang
                                                  1177 Avenue of the Americas
                                                  New York, New York 10036
                                                  Telephone: (212) 715-9100
                                                  Facsimile: (212) 715-8000

                                                  Special Counsel for the Debtors and Debtors-in
                                                  Possession




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                                      EXHIBIT A




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 KRAMER LEVIN NAFTALIS & FRANKEL LLP
 1177 Avenue of the Americas
 New York, New York 10036
 Telephone: (212) 715-9100
 Facsimile: (212) 715-8000
 Kevin B. Leblang

 Special Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re                                                             Chapter 11 Case No.

 LEHMAN BROTHERS HOLDINGS INC., et A,                              08-13555 (JMP)

                                             Debtors.              (Jointly Administered)



                 CERTIFICATION UNDER GUIDELINES FOR FEES
             AND DISBURSEMENTS FOR PROFESSIONALS IN RESPECT
      OF SECOND APPLICATION OF ICRAMER LEVIN NAFTALIS & FRANKEL LLP
        FOR INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES

               I, Kevin B. Leblang, hereby certify that:

                1.    I am a partner with the applicant firm, Kramer Levin Naftalis & Frankel LLP

 ("Kramer Levin"), with responsibility for the chapter 11 cases of Lehman Brothers Holdings Inc.

 and certain of its affiliates, as debtors in possession in the above-captioned cases (collectively,

 the "Debtors"), and I submit this second application for interim compensation in compliance

 with the Amended Guidelines for Fees and Disbursements for Professionals in Southern District

 of New York Bankruptcy Cases adopted by the Court on November 25, 2009 (the "Local

 Guidelines"), the United States Trustee Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, adopted on

 January 30, 1996 (the "UST Guidelines"), and this Court's Fourth Amended Order Pursuant to



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 Sections 105(a) and 331 of the Bankruptcy Code and Bankruptcy Rule 2016(a) Establishing

 Procedures for Interim Monthly Compensation and Reimbursement of Expenses of Professionals

 [Docket No. 15997] (the "Interim Compensation Order," and together with the Local Guidelines

 and the UST Guidelines, the "Guidelines").

            2.    This certification is made in respect of Kramer Levin's application, dated

 December 14, 2011 (the "Application"), for interim compensation and reimbursement of

 expenses for the period commencing June 1, 2011 through and including September 30, 2011

 (the "Compensation Period") in accordance with the Guidelines.

            3.    In respect of section A.1 of the Local Guidelines, I certify that:

                  (a)    I have read the Application;

                  (b)    to the best of my knowledge, information, and belief formed after
                  reasonable inquiry, the fees and disbursements sought fall within the Local
                  Guidelines and the UST Guidelines;

                  (c)     the fees and disbursements sought are billed at rates in accordance with
                  practices customarily employed by the Applicant and generally accepted by the
                  Applicant's clients; and

                  (d)     in providing a reimbursable service, the Applicant does not make a profit
                  on that service, whether the service is performed by the Applicant in-house or
                  through a third party.

            4.    In respect of section A.2 of the Local Guidelines and as required by the Interim

 Compensation Order, I certify that, to the best of my knowledge, the Applicant has complied

 with the provision requiring it to provide the appropriate notice parties, on a monthly basis, with

 a statement of the Applicant's fees and disbursements accrued during the previous month.

            5. In respect of section A.3 of the Local Guidelines, I certify that counsel for the

 Debtors, the United States Trustee for the Southern District of New York and counsel for the

 Committee are each being provided with a copy of this Application.



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Dated: December 14, 2011
       New York, New York
                                            /s/ Kevin B. Leblang
                                            Kevin B. Leblang

                                            KRAMER LEVIN NAFTALIS & FRANKEL LLP
                                            Kevin B. Leblang
                                            1177 Avenue of the Americas
                                            New York, New York 10036
                                            Telephone: (212) 715-9100
                                            Facsimile: (212) 715-8000

                                            Special Counsel for the Debtors and Debtors-in
                                            Possession




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                                      EXHIBIT B




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                                     Expense Category Summary

 _Expense Category                                                            Amount

 PHOTOCOPYING                                                                          $27.20

 MESSENGER/COURIER                                                                    $390.69

  INSIDE MESSENGER                                                                     $12.00

  POSTAGE                                                                              $70.04

  TRANSCRIPT FEES                                                                 $1,935.60

 s.i.:TotaI Expenses                                                              :    •••••• •••• •• •• •• • • • .•




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                                       EXHIBIT C




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                                   Fee Summary by Matter Number

 Matter Number                      Project
                                      .     Categonr,               Hours       Amount
   097372-00013     Welfare Plans                                   0.30        $171.00
   097372-00014     Savings Plan Committee                          4.80       $4,248.00
   097372-00017     Savings Plan                                    3.40       $3,009.00
   097657-00077     Employment Advice                               23.90      $16,684.50
   097657-00187     Newman (Barbara)                                0.20        $155.00
   097657-00197     Swabsin (Cynthia)                               0.90        $633.00
   097657-00200     Bennett (Margaret)                              17.70       $9,744.00
   097657-00202     Retention Matters/Fee Application               40.50      $22,394.00
                          SUBTOTAL                                   91.7       $57,038.50
                                               Minus 10% discount              ($5,703.85)
                            TOTAL                                    91.7       S51,334.65




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                                      EXHIBIT D




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                          KRAMER LEVIN NAFTALLS & FRANKELLLP
                                                      1177 AVENUE OF TI-EE AMERICAS
                                                            NEW YORK, NY 10036
                                                             PHONE 212 715,9100
                                                              FAX 212,715.8000




                                                                                           August 9, 2011

 LEHMAN BROTHERS HOLDINGS INC.                                                             When remitting,
 1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                   please reference:
 NEW YORK, NY 10020
 ATTN: JOHN SUCKOW AND WILLIAM FOX
 CC: THOMAS HOMMEL
                                                                                           Invoice Number: 575514
                                                                                           097657




 FOR PROFESSIONAL SERVICES rendered through June 30, 2011,
 as per the attached time detail.


 FEES                                                                                                   $18,543.50

 LESS 10% FEE DISCOUNT                                                                                   (1 854 35)

 FEE SUB-TOTAL                                                                                          $16,689.15

 DISBURSEMENTS AND OTHER CHARGES                                                                            1,978.36

 INVOICE TOTAL                                                                                          $18,667.51   .




 Amounts due may be remitted by wire transfer.

 To:                   Citibank, N.A.
                       Citicorp Center 153 E. 53rd Street NY, N.Y. 10043
                       ABA #021000089
 Account:              Kramer Levin Naftalis & Frankel LLP Money Market A \ C 9992122019
 By Order of:          Invoice No. 575514
 Citibank Contact:     Gaetana Mauceli (212) 559-0165

                     TIME AND DISBURSEMENT AMOUNTS POSTED AFTER THE BILLING PERIOD SHOWN
                              ON THIS INVOICE WILL APPEAR ON A SUBSEQUENT INVOICE.

                        DUE AND PAYABLE UPON RECEIPT. THE LEGAL RATE OF INTEREST WILL BE
                                 CHARGED FOR BALANCES OUTSTANDING OVER 30 DAYS.
                                                TAX ID# XX-XXXXXXX
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  LEHIVIAN BROTHERS                                                        • August 9, 2011
  097657-00077 EMPLOYMENT ADVICE                                         Invoice No. 575514




  SUMMARY OF SERVICES


  TIMEKEEPER                         TITLE                          HOURS                 AMOUNT
  LEBLANG, KEVIN B.                  PARTNER                          0.30                  232.50
  KNECHT, STEVEN                     SPEC COUNSEL                     0.40                  268.00
  BAKER, KATRINA L                   ASSOCIATE                        0.90                  472.50

  TOTAL                                                                 1.60                    973.00



  SUMMARY OF DISBURSEMENTS AND OTHER CHARGES


  DESCRIPTION                                                          AMOUNT
  PHOTOCOPYING                                                                  4.60
  INSIDE MESSENGER                                                             12.00
  MESSENGER/COURIER                                                            26.16
  TRANSCRIPT FEES                •                                        1,935.60


  TOTAL DISBURSEMENTS AND OTHER CHARGES                                  $1,978.36




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 LEHMAN BROTHERS                                                                 August-9, 2011
 097657-00077 EMPLOYMENT ADVICE                                              Invoice No. 575514



 DETAIL OF SERVICES


 DATE     TIMEKEEPER                    DESCRIPTION                                      HOURS AMOUNT
 06/14/11 BAKER, KATRINA L              Telephone call with T. Hommel and D. Scott         0.90  472.50
                                        regarding Wage Theft Protection Act (.2).
                                        Conference with K. Leblang and S. Knecht re:
                                        same (.3). Gather relevant information and
                                        send to same (.4).
  06/14/11 KNECHT, STEVEN               Conference with K. Leblang, K. Baker                  0.40         268.00
                                        regarding Wage Act requirements (.3). Draft
                                        e-mail regarding template for same (.1).
  06/14/11 LEBLANG, KEVIN B.            Conferences with K. Baker, S. Knect re Wage           0.30         232.50
                                        Theft Protection.Act.

  TOTAL                                                                                       1.60         973 00




  DETAIL OF DISBURSEMENTS AND OTHER CHARGES


  DATE               DESCRIPTION                                                         AMOUNT
  06/06/11           TRANSCRIPT: ELISA DREIER REPORTING C                                   1,935.60
                     ELISA DREIER REPORTING CORP. Margaret
                     Bennett.
  06/13/11           PHOTOCOPYING BAKER, KATRINA L                                                  4.60
  06/13/11           MESSENGER: FEDERAL EXPRESS CORPORAT                                        13.60
                     Gabriel Fischbarg, Esq
  06/22/11           MESSENGER: FEDERAL EXPRESS CORPORAT                                        12.56
                     Karen Coviello
  06/29/11           INSIDE MESSENGER Baker Katrina L                                           12.00



 TOTAL DISBURSEMENTS AND OTHER CHARGES                                                     511,97836




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 IRLIMAN BROTHERS                                                         August-9, 2011
 097657-00187 NEWMAN (BARBARA)                                        Invoice No. 575514




 SUMMARY OF SERVICES



 TIMEKEEPER                 TITLE                             HOURS                  AMOUNT
 LEBLANG, KEVIN B.          PARTNER                             0.20                   155.00

 TOTAL                                                            0.20                      155.00




 DETAIL OF SERVICES



 DATE TIMEKEEPER                   DESCRIPTION                                  HOURS AMOUNT
 06/01111 LEBLANG, KEVIN B.        Reviewed message from B. Newman.               0.20  155.00

 TOTAL                                                                               0.20        155.00




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08-13555-mg       Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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• LEHMAN BROTHERS                                                      Auguit-9, 2011
   097657-00200 BENNETT (MARGARET)                                 Invoice No. 575514




  SUMMARY OF SERVICES



  TIMEKEEPER                  TITLE                          HOURS                AMOUNT
  HOLTZMAN, ROBERT N.         PARTNER                           2.10                1,554.00
  BAKER, KATRINA L            ASSOCIATE                        13.70               fl92.50

  TOTAL                                                         15M                     8,746.50




  DETAIL OF SERVICES



  DATE TIMEKEEPER              DESCRIPTION                                    HOURS AMOUNT
  06/09/11 BAKER, KATRINA L    Draft Responses to second document request.      1.00  525.00
  06/10/11 HOLTZMAN, ROBERT N. Review and revise responses to discovery         0.50  370.00
                               requests and conference with Katrina Baker
                               regarding same.
  06/10/11 BAKER, KATRINA L    Edit responses to second document requests       1.10  577.50
                               (.8); conference with R. Holtzman re: same
                               (3).
  06/13/11 BAKER, KATRINA L    Finalize Responses to second requests.           0.40  210.00
  06/14/11 BAKER, KATRINA L    Review correspondence from G. Fischbarg and      0.20   105.00
                               corresponding unemployment insurance
                               statute.
  06/14/11 HOLTZMAN, ROBERT N. Review issues concerning request for             0.30  222.00
                               unemployment documents and various e-mail
                               correspondence with plaintiffs counsel.
  06/16/11 BAKER, KATRINA L    Prepare with R. Holtzman for meet and confer     0.90  472.50
                               (.2). Telephone call with opposing counsel
                               regarding discovery issues (.3). E-mail update
                               to T. Hommel and request approval of
                               discovery resolution (.2). E-mail D. Scott
                               requesting additional unemployment
                               documents (.2).
  06/16/11 HOLTZMAN, ROBERT N. Prepare with K. Baker (.2) and attend            0.50  370.00
                               conference call with plaintiffs counsel
                               regarding outstanding discovery disputes,
                               expert issues (.3).




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 LEHMAN BROTHERS                                                        Augu-gr9, 2011
 097657-00200 BENNETT (MARGARET)                                    Invoice No. 575514




 DATE TIMEKEEPER              DESCRIPTION                                       HOURS AMOUNT
 06/20/11 HOLTZMAN, ROBERT N. E-mail correspondence with opposing counsel         0.50    370.00
                              concerning discovery disputes (.2); revise
                              affidavit for unemployment insurance division
                              (.3 ).
 06/20/11 BAKER, KATRINA L    Draft template letters to be sent to witnesses      2.70  1,417.50
                              along with their transcripts (.5). Review J.
                              Shaughnessy transcript for errors and begin
                              reviewing K. Coviello transcript (1.0).
                              Correspond via e-mail with opposing counsel
                              regarding discovery disputes (.6). Draft
                              consent for DOL's release of unemployment
                              documentation (.6).
 06/21/11 BAKER, KATRINA L    Edit DOL authorization (.1). E-mail                 1.00    525.00
                              authorization to D. Scott (.1). Complete
                              review of K. Coviello deposition (.8).
 06/22/11 BAKER, KATRINA L    Complete errata sheet for K. Coviello (.2). Edit    0.40    210.00
                              letter to K. Coviello (.2).
 06/23/11 BAKER, KATRINA L    Telephone call with P. McKenna and D. Scott         0.20    105.00
                              regarding documents to produce regarding C.
                              Hardie's interview process.
 06/28/11 BAKER, KATRINA L    Review transcripts of M. Ferraro, P. McKenna,       4.30  2,257.50
                              and R. Geraghty for errors (3.9). Edit letters to
                              M. Ferraro, P. McKenna, R. Geraghty, and J.
                              Shaughnessy re: transcripts (.4).
 06/29/11 HOLTZMAN, ROBERT N. Review issues concerning outstanding                0.30    222.00
                              discovery.
 06/29/11 BAKER, KATRINA L    Telephone call with M. Ferraro regarding            1.50    787.50
                              transcript (.2). Telephone call with J.
                              Shaughnessy re: same (.1). Determine
                              documents to be produced and prepare
                              production to be bates-stamped (1.2).

 TOTAL                                                                            15.80   8,746.50.




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 LEHMAN BROTHERS                                                         AuguW9, 2011
 097657-00202 RETENTION MAI I ERS/FEE APPLICATION               Invoice Number: 575514




 SUMMARY OF SERVICES



 TIMEKEEPER                  TITLE                             HOURS                AMOUNT
 LEBLANG, KEVIN B.           PARTNER                              2.30               1,782.50
 RAPPAPORT, JASON            ASSOCIATE                           11.60               6,090.00

 TOTAL                                                            1.1.911                7,872.50




 DETAIL OF SERVICES



 DATE     TIMEKEEPER               DESCRIPTION                                      HOURS AMOUNT
 06/01/11 RAPPAPORT, JASON         Call with K. Stadler re: KL fee procedures (.3);   0.60  315.00
                                   call and emails with accounting department re:
                                   past invoices (.3)
 06/02/11 LEBLANG, KEVIN B.        Conference with J. Rappaport regarding fee         0.50  387.50
                                   application.
 06/02/11 RAPPAPORT, JASON         0/c with K. Leblang re: fee applications (.5);     1.20  630.00
                                   review interim fee procedures and fee protocol
                                   (.7).
 06/03/11 RAPPAPORT, JASON         Review prior invoices and calls with               0.80  420.00
                                   accounting re: same
 06/07/11 RAPPAPORT, JASON         Review outstanding invoices and create             1.00  525.00
                                   summary spreadsheet re: same (.8); emails
                                   with K. Leblang re: same (.2).
 06/08/11 RAPPAPORT, JASON         Review open invoices (.6); o/c and calls with      1.00  525.00
                                   S. Mills re: same (.4).
 06/09/11 RAPPAPORT, JASON         0/c with R. Mahler re: outstanding invoices        1.40  735.00
                                   (.5); emails/calls with S. Mills re: same (.5);
                                   Begin reviewing October invoices (.4).
 06/10/11 RAPPAPORT, JASON         Calls with S. Mills re: outstanding invoices       0.80  420.00
                                   (.3); call with C. Arthur (Weil) re: same (.2);
                                   call and email with P. Djanev (Lehman) re:
                                   same (.3).
 06/13/11 RAPPAPORT, JASON         Call/emails with S. Hernandez re: open             1.00  525.00
                                   invoices (.4); review same (.6).
 06/16/11 LEBLANG, KEVIN B.        Conferences with J. Rappaport re retention         0.80  620.00




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  LEFIMA.N BROTHERS                                                             AuguTf9, 2011
  097657-00202 RETENTION MA I ERS/FEE APPLICATION                      Invoice Number: 575514




  DATE            TIMEKEEPER         DESCRIPTION                                         HOURS AMOUNT
                                     issues.
  06/16/11 RAPPAPORT, JASON          0/c K. Leblang re: conforming outstanding                1.30    682.50
                                     invoices and UST guidelines (.8); call with P.
                                     Djanev re: ocp cap (.2); call/email with S.
                                     Hernandez re: same (.3).
  06/17/11 RAPPAPORT, JASON          Email with K. Leblang re: new invoices; email            0.20     105.00
                                     J. Diana re: ocp cap
  06/20/11 RAPPAPORT, JASON          Calls with C. Arthur re: ocp cap (.1);                   0.30     157.50
                                     emails/calls with J. Diana re: same (.2).
  06121/11 LEBLANG, KEVIN B.         TCs with J. Rappaport re submission of                   0.60    465.00
                                     invoices for court approval.
  06/21/11 RAPPAPORT, JASON          Review spreadsheet reconciling open invoices             1.80    945.00
                                     (.7); call/email with K. Leblang re: same (.6);
                                     email with P. Djanev re: ocp cap (.1);
                                     call/email with C. Lapin re: submitting
                                     outstanding invoices (.4).
  06/22/11 LEBLANG, KEVIN B.         TC with J. Rappaport re: open invoices to                0.40    310.00
                                     submit for court approval (.2); emails w/ J.
                                     Rappaport re: same (.2)
  06/22/11 RAPPAPORT, JASON          Call with K. Leblang re: outstanding invoices.           0.20     105.00

  TOTAL                                                                                      13.90   7,872.50




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 LEHMAN BROTHERS                                                                    Augusr9, 2011
 097372-00017 SAVINGS PLAN                                                      Invoice No. 575514




 SUMMARY OF SERVICES



 TIMEKEEPER                        TITLE                                 HOURS                 AMOUNT
 LUTGENS, CHRISTINE                PARTNER                                 0.90                  796.50

 TOTAL                                                                        0.90                    796.50




 DETAIL OF SERVICES



 DATE TIMEKEEPER                        DESCRIPTION                                        HOURS AMOUNT
 06/01/11 LUTGENS, CHRISTINE            Review question from Carol Rado re: admin            0.10   88.50
                                        issues.
 06/07/11 LUTGENS, CHRISTINE            Conference Carol Rado re: misc. admin.                 0.80        708.00
                                        issues; follow up Carol Rado re: same; review
                                        files re: Fidelity advice program, prior review.

 TOTAL                                                                                         0.90       796 50




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                            KRAMER LEVIN NAFTALIS & FRANKELup
                                     1177 AVENUE OF THE AMERICAS
                                                             NEW YORK, NY 10036
                                                             PHONE 212.715.4100
                                                              FAX 212.715.8000




                                                                                            August 26, 2011
   LEHMAN BROTHERS HOLDINGS INC.                                                            When remitting,
   1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                  please reference:
   NEW YORK, NY 10020
   ATTN: JOHN SUCKOW AND WILLIAM FOX
   CC: THOMAS HOMMEL
                                                                                            Invoice Number: 576636
                                                                                            097657




   FOR PROFESSIONAL SERVICES rendered through July 31,2011,
   as per the attached time detail.


   FEES                                                                                                 .   $15,090.50
   LESS 10% FEE DISCOUNT                                                                                    (1.509.0n

   FEE SUB-TOTAL                                                                                            $13,581.45

   DISBURSEMENTS AND OTHER CHARGES                                                                              231.39

   INVOICE TOTAL                                                                                        $13,812.84




   Amounts due may be remitted by wire transfer.
   To .                  Citibank, N.A.
                         Citicorp Center 153 E. 53rd Street NY, N.Y. 10043
                         ABA #021000089
   ACCOUlle              KLEMM Levin Naftalis dt Frankel LLP Money Market A \C 9992122019
   By Order of:          Lovoicc No. 576636
   Citibank Contact:     Gaetarta Maned (212) 559-0165

                       TIME AND DISBURSEMENT AMOUNTS POSTED AFTER THE BILLING PERIOD SHOWN
                                 ON THIS INVOICE WILL APPEAR ON A. SUBSEQUENT INVOICE

                          DUE AND PAYABLE UPON RECEIPT. THE LEGAL RATE OP INTEREST WILL BE
                                   CHARGED FOR BALANCES OUTSTANDING OVER 30 DAYS.
                                                  TAX ID# 134944339
08-13555-mg       Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46      Main Document
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   LEHMAN BROTHERS                                                        August 26, 2011
   097372-00013 WELFARE PLANS                                          Invoice No 576636



   SUMMARY OF SERVICES



   TIMEKEEPER                        TITLE                 HOURS                       AMOUNT
   LUTGENS, CHRISTINE                PARTNER                   4.10                      $3,628.50
   LEBLANG, KEVIN B.                 PARTNER                   4.80                      $3,720.00
   TRAST, CARISSA R.                 ASSOCIATE                 0.30                        $171.00
   BAKER, ICATRINA                   ASSOCIATE                 1.90                        $997.50
   RAPPAPORT, JASON                  ASSOCIATE                12.30                      $6,457.50
   NEUNDER, LISA                     ASSOCIATE                 0.40                        $116.00


   TOTAL                                                      23.80                    $15,090.50




   SUMMARY OF DISBURSEMENTS AND OTHER CHARGES



   DESCRIPTION                                                        AMOUNT
   PHOTOCOPYING                                                           22.60
   POSTAGE                                                                35.24
   MESSENGER/COURIER                                                     173.55


   TOTAL DISBURSEMENTS AND OTHER CHARGES                                $23L39
08-13555-mg        Doc 23315        Filed 12/14/11 Entered 12/14/11 13:26:46       Main Document
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   Kramer Levin Naftalis & Frankel LLP                                           Page No. 3

   LEHMAN BROTHERS                                                          August 26, 2011
   097372-00013 WELFARE PLANS                                            Invoice No. 576636



   DETAIL OF DISBURSEMENTS AND OTHER CHARGES'



   DATE                DESCRIPTION                                                 AMOUNT
   07/01/11            PHOTOCOPYING - BAKER, ICATRINA L(1 copy)                           0.10
   07/01/11            PHOTOCOPYING - BAKER, KATRINA L (2 copies)                         0.20
   07/01/11            FEDERAL EXPRESS CORPORAT Gabriel Fischbarg,                       13.60
                       Esq
   07/05/11            POSTAGE HOLTZMAN, ROBERT N. 10139                                  0.44
   07/08/11            PHOTOCOPYING - BAKER, KATRINA L (3 copies)                         0.30
   07/08/11    .       FEDERAL EXPRESS CORPORAT Gabriel Fischbarg,                       15.27
                       Esq
   07/12/11            PHOTOCOPYING - BAKER, KATRINA L (1 copy)                           0.10
   07t20/11            POSTAGE LEBLANG, KEVIN B. 04126                                   17.40
   07/20/11            FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                       Holdings Inc
   07/20/11            FEDERAL EXPRESS CORPORAT Weil, Gotshal &                          12.48
                       Manges, LLP
                                                                     •
   07/20/11            FEDERAL EXPRESS CORPORAT Milbank, Tweed,                          12.48
                       Hadley & McClo
   07/20/11            FEDERAL EXPRESS CORPORAT Office of the U -S                       12.48
                       Trustee for
   07/20/11            FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                       Holdings Inc
   07/21/11            PHOTOCOPYING - BAKER, 1CATRINA L (218 copies)                     21.80
   07/21/11            PHOTOCOPYING - BAKER, KATRINA L (1 copy)                           0.10
   07/22/11            FEDERAL EXPRESS CORPORAT Gabriel Fischbarg,                       14.51
                       Esq
   07/29/11            POSTAGE LEBLANG, KEVIN B. 04126                                   17.40
   07/29/11            FEDERAL EXPRESS CORPORAT Lehman Brothers                          14.27
                       Holdings Inc
   07/29/11            FEDERAL EXPRESS CORPORAT Milbank, Tweed,                          14.27
                       Hadley & MeClo
  07/29/11            FEDERAL EXPRESS CORPORAT Weil, Gotshal &                           12.48
                      Manges, LLP
08-13555-mg       Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46    Main Document
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    LEHMAN BROTHERS                                                       August 26, 2011
    097372-00013 'WELFARE PLANS                                        Invoice No. 576636



    DATE                DESCRIPTION                                              AMOUNT
    07/29/11            FEDERAL EXPRESS CORPORAT Office of the U S                     14.27
                        Trustee for
    07129/11            FEDERAL EXPRESS CORPORAT Lehman Brothers                       12.48
                        Holdings Inc

   TOTAL DISBURSEMENTS AND OTHER CHARGES                                             S23139
08-13555-mg       Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46                    Main Document -•            ......   -


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   LEHMAN BROTHERS                                                                       August 26, 2011
   097372-00013 WELFARE PLANS                                                         Invoice No. 576636



   SUMMARY OF SERVICES



   TIMEKEEPER                         TITLE                                 HOURS                    AMOUNT
   TRAST, CARISSA R                   ASSOCIATE                               0.30                           171.00

   TOTAL                                                                         0.30                        171.00




   DETAIL OF SERVICES



   DATE TIMEKEEPER                            DESCRIPTION                                       HOURS AMOUNT
   06/08/11 TRAST, CARISSA R                  Review file on VEBA application, left               0.30  j71.00
                                              message with IRS agent as follow-up.

   TOTAL                                                                                             11311         171.00
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   Kramer Levin Naftalis & Frankel LLP                                          Page No.6

   LEHMAN BROTHERS                                                         August 26, 2011
   097372-00014 SAVINGS PLAN COMMI1 hE                                  Invoice No. 576636




   SUMMARY OF SERVICES



   TIMEKEEPER                        TITLE                        HOURS                AMOUNT
   LUTGENS, CHRISTINE                PARTNER                          4_00                   3,540.00

   TOTAL                                                              4.00                   3,540.00




   DETAIL OF SERVICES


                                                                                  -
   DATE TIMEKEEPER                           'DESCRIPTION                         HOURS AMOUNT
   07/29/11 LUTGENS, CHRISTINE Draft revisions to investment management                4.00 3,540.00
                                 agreement (3.8); and transmit to Carol Ratio
                                 (.2).

   TOTAL                                                                               4.fill     3,540.00
08-13555-mg         Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46     Main Document
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   LEHMAN BROTHERS                                                          August 26, 2011
   097372-00017 SAVINGS PLAN                                             Invoice No. 576636




    SUMMARY OF SERVICES



    TIMEKEEPER                         TITLE                       HOURS                 AMOUNT
    LUTGENS, CHRISTINE                 PARTNER                       0.10                   88.50

    TOTAL                                                              0.111                  88.50




   'DETAIL OF SERVICES



 • DAT1 TIMEKEEPER                 DESCRIPTIO                                      HOURS AMOUNT
    07/11/11 LUTGENS, CHRISTINE . Respond to C. Rado ye: participant address         0.10   88.50
                                   question.

    TOTAL                                                                               112           88.50
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   Kramer Levin Naftalis & Ftankel LLP                                                      Page No. 8

   LEH-MAN BROTHERS                                                                  August 26, 2011
   097657-00077 EMPLOYMENT ADVICE                                                 Invoice No. 576636




   SUMMARY OF SERVICES



   TIMEKEEPER                        TITLE                                 HOURS                   AMOUNT
   LEBLANG, KEVIN B.                 PARTNER                                 4.80                   372000

   TOTAL                                                                        4.811                    3,720.00




   DETAIL OF SERVICES



     DATE TIMEKEEPER                      DESCRIPTION                                         HOURS AMOUNT
  . 07126/11 LEBLANG, KEVIN B.            TCs re confidential investigation (.5); drafted       4.80  3,720,00
                                          and revised warning letters and talking points
                                          (3.0); conferences re strategy (1.3).

   TOTAL                                                                                                      3,720 00
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  LEHMAN BROTHERS                                                                    August 26, 2011
  097657-00200 BENNETI' MARGARET)                                                 Invoice No. 576636




   SUMMARY OF SERVICES



  TIMEKEEPER                        TTTLE                                  HOURS                 AMOUNT
  BAKER, KATRlNA L                  ASSOCIATE                                   1.90               997.50

  TOTAL                                                                         1,9ft                     997.50




  DETAIL OF SERVICES



  DATE TIMEKEEPER                           DESCRIPTION                                       HOURS AMOUNT
  07/08/11 BAKER, KATRINA L                 Correspondence with witnesses regarding              0.80          420.00
                                            deposition transcripts (0.4). Review
                                            documents received from Department of Labor
                                            concerning plaintiffs unemployment
                                            application (0.2). Draft letter and send
                                            package to opposing counsel (0.2).
   07/19/11 BAKER, KATRINA L                Telephone call with M. Ferraro regarding             0.40          210.00
                                            transcript (0.2). Make changes to Ferraro's
                                            errata sheet (0.2).
   07/21/11 BAKER, KATRINA L                Followed-up with client re: R. Geraghty's            0.20          105.00
                                            deposition transcript.
   07/22/11 BAKER, KATRINA L                Meet with and notarize R. Geraghty's transcript      0.50          262.50
                                            (0.2). Draft letter to Fischbarg to accompany
                                            transcripts (03).

   TOTAL                                                                                         1.9_11       997.50
08-13555-mg
      -
                  Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46
                                                                        •   "      •
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    LEHMAN BROTHERS                                                                  August 26,2011
    097657-00202 RETENTION MA .121.ERS/FEE APPLICATION                            Invoice No. 576636




    SUMMARY OF SERVICES



    TIMEKEEPER                         trax                                 HOURS                AMOUNT
    RAPPAPORT, JASON                   ASSOCIATE                              12.30               6,457.50
    NEUNDER, LISA                      ASSOCIATE                               0.40                 116.00

    TOTAL                                                                       12.70                  6,573.50




    DETAIL OF SERVICES



    DATE TIMEKEEPER                           DESCRIPTION                                      HOURS AMOUNT
    P7/13/11 RAPPAPORT, JASON                 Attention to outstanding invoices.                 0.30     157.50
    07/14/11 RAPP.APORT, JASON                Call with S. Mills re: invoices (.1); entails C.   1.60     840.00
                                              LaPin re: same (.3); draft cover letter for
                                              monthly fee statement (1.2).
    07/15/11 RAPPAPORT, JASON                 Review February invoices to ensure                 1.60 -   840.00
                                              compliance with UST guidelines (1.2); calls
                                              with S. Mills re: same (.4):
    07/18/11 RAPPAPORT, JASON                 Review January, February and May invoices to       2.10   1,102.50
                                              ensure compliance with UST guidelines (1.1);
                                              call/oc K. Baker re: same (2); olc S. Mills re:
                                              same (.2); begin drafting interim application
                                              (.6).
    07/19/11 RAPPAPORT, JASON                 Draft interim fee application (1.1); calls with    1.30     682.50
                                              C. Lapin re: outstanding invoices (.2).
    07/20/11 RAPPAPORT, JASON                 Review February, March, April and May              2.00   1,050.00
                                              invoices (1.3); multiple emails/cails with C.
                                              Lapin re: January invoice (.3); prepare January
                                              invoice for filing (.4).
    07/21/11 RAPPAPORT, JASON                 Emails R. Holtzman re; outstanding invoices        0.80     420.00
                                              and ensuring compliance with UST guidelines
                                              (.2); email S. Hernandez re: same (.1); left
                                              message for K. Stadler re: interim application
                                              (.1); revise draft interim application (.4).
    07/22/11 RAPPAPORT, JASON                 Call Y. Morales re: invoices.                      0.10      52.50
    07/26/11 RAPPAPORT, JASON                 Call with K. Stadler re: interim fee application   0.80     420.00
08-13555-mg       Doc 23315        Filed 12/14/11 Entered 12/14/11 13:26:46            Main Document
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  LEHMAN BROTHERS                                                              August 26, 2011
  097657-00202 RETENTION MATTERS/FEE APPLICATION                            Invoice No. 576636



  DATE       TIMEKEEPER                  DESCRIPTION                                       HOURS, AMOUNT
                                         (.2); review February-May invoices to ensure
                                         compliance with UST guidelines (.5); o/c S.
                                         Hernandez re: same (.1).
  07/77/11 RAPPAPORT, JASON              Email K. Leblang re: budget (.2); call with Y.      0.90   472.50
                                         Morales re: invoice summary data for interim
                                         application (.1); draft cover letter for February
                                         - May invoices (.3); discussion with C. LaPin
                                         re: same (.1); review disbursement back-up re:
                                         may invoice (.2).
   07128111 RAPPAPORT, JASON             Cover letter revisions (,3); calls with K.          0.50   262.50
                                         Leblang re: same (2).
   07/29/11 RAPPAPORT, JASON             Finalize invoices for submission re: Feb - May.     030     157.50
                                         Emails with C. Lapin and S. Mills re: same
   07/29/11 NEUNDER, LISA                Creating disks and labels for submission of         0.40   116.00
                                         monthly invoices.

   TOTAL                                                                                  12.70   6,573.50
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08-13555-mg            Doc 23315           Filed 12/14/11 Entered 12/14/11 13:26:46                Main Document
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                          KRAMER LEVIN NAFTA--LIS & FRANKELur
                                    1177 AVENUE OF THE AMERICAS
                                                           NEW YORK, NY 10036
                                                           PHONE 212.715.9100
                                                             FAX 212.715.8000




                                                                                          September 23, 2011


 LEHMAN BROTHERS HOLDINGS INC.                                                            When remitting,
 1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                  please reference:
 NEW YORK, NY 10020
 ATTN: JOHN SUCKOW AND WILLIAM FOX
 CC: THOMAS HOMMEL
                                                                                          Invoice Number: 577564
                                                                                          097372



 FOR PROFESSIONAL SERVICES rendered through August 31, 2011,
 as per the attached time detail.


 FEES                                                                                                  $12,746.00

 LESS 10% FEE DISCOUNT                                                                                 (1,274.60)

 FEE SUB-TOTAL                                                                                         $11,471.40

 DISBURSEMENTS AND OTHER CHARGES                                                                              62.40

 INVOICE TOTAL                                                                                         $11,533.80




 Amounts due may be remitted by wire transfer.

 To:                   Citibank, N.A.
                       Citicorp Center 153 E. 53rd Street NY, N.Y. 10043
                       ABA #021000089
 Account:              Kramer Levin Naftalis & Frankel LLP Money Market A\ C 9992122019
 By Order of:          Invoice No. 577564
 Citibank Contact:     Gaetano. Mauceli (212) 559-0165

                     TIME AND DISBURSEMENT AMOUNTS POSTED AFTER THE BILLING PERIOD SHOWN
                              ON THIS INVOICE WILL APPEAR ON A SUBSEQUENT INVOICE.

                        DUE AND PAYABLE UPON RECEIPT. THE LEGAL RATE OF INTEREST WILL BE
                                 CHARGED FOR BALANCES OUTSTANDING OVER 30 DAYS.
                                                TAX ID# XX-XXXXXXX
 KL4 2318491.1
08-13555-mg    Doc 23315            Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
 Kramer Levin Naftalis & Frankel LLP          Pg 49 of 61                    Page No. 2
                                               -
 LEHMAN BROTHERS                                                   Septembef 23, 2011
 097372-00014 SAVINGS PLAN COMMII .1.LE                            Invoice No. 577564

 SUMMARY OF SERVICES


 TIMEKEEPER                  TITLE                    HOURS                        AMOUNT
 LUTGENS, CHRISTINE          PARTNER                     1.60                       $1,416.00
 LEBLANG, KEVIN B.           PARTNER                    2.90                         2,247.50
 BAKER, KATRINA L            ASSOCIA'IE                 5.90                         3,097.50
 SCH1VBDT, ROBERT T.         PARTNER                     1.40                        1,155.00
 RAPPAPORT, JASON            ASSOCIATE                  9.20                         4,830.00


 TOTAL                                                   21.00                     512,746.00



 SUMMARY OF DISBURSEMENTS AND OTHER CHARGES


 DESCRIPTION                                                     AMOUNT
 MESSENGER/COURIER                                                    62.40


 TOTAL DISBURSEMENTS AND OTHER CHARGES                               562.40



 DETAIL OF DISBURSEMENTS AND OTHER CHARGES


 DATE             DESCRIPTION                                                 AMOUNT
 08/11/II         FEDERAL EXPRESS CORPORAT Office of the U 5                        12.48
                  Trustee for
 08/11/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                  Holdings Inc
 08/11/11         FEDERAL EXPRESS CORPORAT Weil, Gotshal &                          12.48
                  Manges, LLP
 08/11/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                  Holdings Inc
 08/11/11         FEDERAL EXPRESS CORPORAT Milbank, Tweed,                          12.48
                  Hadley & McClo

 TOTAL DISBURSEMENTS AND OTHER CHARGES                                            S62.40




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08-13555-mg      Doc 23315          Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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 LEHMAN BROTHERS                                                        SeptembeF23, 2011
 097372-00014 SAVINGS PLAN   commrnEE                                   Invoice No. 577564




 TIMEKEEPER                   TITLE                               HOURS                   AMOUNT
 LUTGENS, CHRISTINE           PARTNER                               0.80                    708.00

 TOTAL                                                                0..80                      708.00




 SUMMARY OF DISBURSEMENTS AND OTHER CHARGES



 DESCRIPTION                                                          AMOUNT
 MESSENGER/COURIER                                                            62.40


 TOTAL DISBURSEMENTS AND OTHER CHARGES                                        $62.40



 DETAIL OF SERVICES



 DATE TIMEKEEPER                   DESCRIPTION                                         HOURS AMOUNT
 08/18/11 LUTGENS, CHRISTINE       Conf. call with Carol Rado re new fund                0.80  708.00
                                   choices, Fidelity.

 TOTAL                                                                                   0,$(1       708.00




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08-13555-mg       Doc 23315         Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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  LEHMAN BROTHERS                                                      September 23, 2011
  097372-00017 SAVINGS PLAN                                            Invoice No. 577564




  SUMMARY OF SERVICES



  TIMEKEEPER                  TITLE                              HOURS                AMOUNT
  LUTGENS, CHRISTINE          PARTNER                              0.80                 708.00

  TOTAL                                                                                     708.00




  DETAIL OF SERVICES



  DATE TIMEKEEPER                  DESCRIPTION                                    HOURS AMOUNT
  08/03/11 LUTGENS, CHRISTINE      Draft comments on Fidelity Advisory Services     0.80  708.00
                                   documents for Carol Rado.

  TOTAL                                                                               CM        708.00




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08-13555-mg        Doc 23315       Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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 LEHMAN BROTHERS                                                               Septembef23, 2011
 097657-00077 EMPLOYMENT ADVICE                                                Invoice No. 577564




 SUMMARY OF SERVICES



 TIMEKEEPER                        TITLE                                HOURS                 AMOUNT
 LEBLANG, KEVIN B.                 PARTNER                                2.90                 2,247.50
 BAKER, KATRINA L                  ASSOCIATE                              5.90                      3,097.50

 TOTAL                                                                                              5,345.00




 DETAIL OF SERVICES



 DATE     TIMEKEEPER                    DESCRIPTION                                       HOURS AMOUNT
 08/11/11 BAKER, KATRINA L              Telephone call with D. Scott regarding              5.80  3,045.00
                                        question concerning pre-hire use of consumer
                                        reports and criminal records (0.2). Research
                                        criminal conviction limitations (0.4). Research
                                        Fair Credit Reporting Act ("FCRA") and its
                                        recent amendments (3.4). Draft memo to D.
                                        Scott concerning FCRA compliance (1.8).
 08/12/11 LEBLANG, KEVIN B.             Reviewed and revised memo re Fair Credit              1.20         930.00
                                        Reporting Act obligations.
 08/12/11 BAKER, KATRINA L              Send memo concerning FCRA to D. Scott.                0.10          52.50
 08/30/11 LEBLANG, KEVIN B.             Conference with T. Hommel re non-renewal of           0.50         387.50
                                        contract.
 08/31/11 LEBLANG, KEVIN B.             Research re prior lawsuit by employee (.8);           1.20         930.00
                                        emails with T. Hommel re employee
                                        termination (.4).

 TOTAL                                                                                                   5.345,00




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08-13555-mg          Doc 23315          Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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     LEHMAN BROTHERS                                                             September 23,2011
     097657-00202 RETENTION MAl. I ERS/FEE APPLICATION                           Invoice No. 577564



     SUMMARY OF SERVICES


     TIMEKEEPER                  TITLE                                   HOURS                  AMOUNT
     SCHMIDT, ROBERT T.          PARTNER                                    1.40                 1,155.00
     RAPPAPORT, JASON            ASSOCIATE                                    9.20               4,830.00

     TOTAL                                                                   10-62                    5,985.00



     DETAIL OF SERVICES


     DATE     TIMEKEEPER               DESCRIPTION                                         HOURS AMOUNT
     08/02/11 RAPPAPORT, JASON         Draft and revise interim application (2.4); calls     2.60  1,365.00
                                       with S. Mills re: same (.2).
     08/03/11 RAPPAPORT, JASON         Email S. Mills re: status of open invoices.              0.10          52.50
     08/04/11 RAPPAPORT, JASON         Draft interim fee application                            1.40         735.00
     08/08/11 RAPPAPORT, JASON         0/c and emails K. Leblang re: interim                    2.50       1,312.50
                                       application (..3); revise interim fee application
                                       re: same (2.0); calls with S. Mills re: June
                                       invoices (.2).
     08/09/11 RAPPAPORT, JASON         Complete draft of First Interim fee application.         1.20         630.00
     08/11/11 RAPPAPORT, JASON         Emails C. Lapin and K. Leblang re: June                  0.20         105.00
                                       invoice
     08/12/11 SCHMIDT, ROBERT T.       E/ms with J. Rappaport re interim fee                    0.80         660.00
                                       application and preliminary review same.
     08/15/11 RAPPAPORT, JASON         Finalize first interim fee application for filing        0.40         210.00
                                       (.1); discussions with R. Schmidt and K.
                                       Leblang re: same (.2); email/call with C.
                                       Arthur re: same (.1).
     08/15/11 SCHMIDT, ROBERT T.       Rev and comment interim fee app (.4); o/cs J.            0.60        495.00
                                       Rappaport re same (.2).
     08/29/11 RAPPAPORT, JASON         Review July time detail.                                 0.30         157.50
     08/30/11 RAPPAPORT, JASON         Review July time detail to ensure compliance             0.40         210.00
                                       with UST guidelines (.2); discussions with K.
                                       Leblang and S. Mills re: same (.2).
     08/31/11 RAPPAPORT, JASON         Emails/calls with C. Lapin and S. Mills re:              0.10             52.50
                                       July invoice.

     TOTAL                                                                                     10.60       5,985.00




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08-13555-mg            Doc 23315           Filed 12/14/11 Entered 12/14/11 13:26:46                 Main Document
                                                     Pg 54 of 61
                         KRAMER LEVIN NAFTAL-IS & FRANKELux
                                                     1177 AVENUE OF THE AMERICAS
                                                           NEW YORK, NY 10036
                                                           PHONE 212.715.9100
                                                            FAX 212.715.8000




                                                                                           October 17, 2011

 LEHIVIAN BROTHERS HOLDINGS INC.                                                           When remitting,
 1271 AVENUE OF THE AMERICAS, 45TH FLOOR                                                   please reference:
 NEW YORK, NY 10020
 ATTN: JOHN SUCKOW AND WILLIAM FOX
 CC: THOMAS HOMMEL
                                                                                           Invoice Number: 579398
                                                                                           097657




 FOR PROFESSIONAL SERVICES rendered through September 30, 2011,
 as per the attached time detail.


 FEES                                                                                                   $10,658.50

 LESS 10% FEE DISCOUNT                                                                                   (1,065 85)

 FEE SUB-TOTAL                                                                                           $9,592.65

 DISBURSEMENTS AND OTHER CHARGES                                                                               163.38

 INVOICE TOTAL                                                                                           $9,756.03




 Amounts due may be remitted by wire transfer.

 To                    Citibank, NA.
                       Citicorp Center 153 E. 53rd Street NY, N.Y. 10043
                       ABA #021000089
 Account:             'Kramer Levin Naftalis & Frankel LLP Money Market A \ C 9992122019
 By Order of:          Invoice No. 579398
 Citibank Contact:     Gaetana Mauceli (212) 559-0165

                     TIME AND DISBURSEMENT AMOUNTS POSTED AFTER THE BILLING PERIOD SHOWN
                               ON THIS INVOICE WILL APPEAR ON A SUBSEQUENT INVOICE.

                       DUE AND PAYABLE UPON RECEIPT. THE LEGAL RATE OF INTEREST WILL BE
                                CHARGED FOR BALANCES OUTSTANDING OVER 30 DAYS.
                                               TAX ID# XX-XXXXXXX
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 LEHMAN BROTHERS                                                        October-1-7, 2011
 097657                                                               Invoice No. 579398



 SUMMARY OF SERVICES


 TIMEKEEPER                        TITLE                  HOURS                  AMOUNT
 LEBLANG, KEVIN B.                 PARTNER                   8.3                  6,432.50
 LUTGENS, CHRISTINE                PARTNER                   L6                    1,416.00
 HOLTZMAN, ROBERT N.               PARTNER                   0.4                     296.00
 O'NEILL, P. BRADLEY               PARTNER                   0.2                     150.00
 BAKER, KATRINA L                  ASSOCIATE                 0.4                     228.00
 KAYE, JORDAN D                    ASSOCIATE                 0.7                     483.00
 RAPPAPORT, JASON                  ASSOCIATE                 2.9                   1 653.00


 TOTAL                                                      14.511                 $10,658.50




 SUMMARY OF DISBURSEMENTS AND OTHER CHARGES



 DESCRIPTION                                                         AMOUNT
 POSTAGE                                                                 34.80
 MESSENGER/COURIER                                                      128.58


 TOTAL DISBURSEMENTS AND OTHER CHARGES                                 $163.38
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 LEHMAN BROTHERS                                                     October 17, 2011
 097372-00017 (SAVINGS PLAN)                                       Invoice No. 579398



 DETAIL OF DISBURSEMENTS AND OTHER CHARGES



 DATE             DESCRIPTION                                                AMOUNT
 09/01/11         POSTAGE LEBLANG, KEVIN B.      04126                              17.40
 09/01/11         FEDERAL EXPRESS CORPORAT Weil, Gotshal &                          12.48
                  Manges, LLP
 09/01/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                  Holdings Inc
 09/01/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.48
                  Holdings Inc
 09/01/11         FEDERAL EXPRESS CORPORAT Milbank, Tweed,                          14.27
                  Hadley & McClo
 09/01/11         FEDERAL EXPRESS CORPORAT Office of the U S                        12.48
                  Trustee for
 09/23/11         POSTAGE LEBLANG, KEVIN B.      04126                              17.40
 09/23/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          14.31
                  Holdings Inc
 09/23/11         FEDERAL EXPRESS CORPORAT Weil, Gotshal &                          12.52
                  Manges, LLP
 09/23/11         FEDERAL EXPRESS CORPORAT Milbank, Tweed,                          12.52
                  Hadley & McCI°
 09/23/11         FEDERAL EXPRESS CORPORAT Lehman Brothers                          12.52
                  Holdings Inc
 09/23/11         FEDERAL EXPRESS CORPORAT Office of the U S                        12.52
                  Trustee for

 TOTAL DISBURSEMENTS AND OTHER CHARGES                                           $163.38
08-13555-mg     Doc 23315             Filed 12/14/11 Entered 12/14/11 13:26:46 Main Document
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  LEHMAN BROTHERS                                                            Octoberr7, 2011
  097372-00017 (SAVINGS PLAN)                                              Invoice No. 579398




  SUMMARY OF SERVICES



  TIMEKEEPER                    TITLE                       HOURS                         AMOUNT
  LUTGENS, CHRISTINE            PARTNER                        1.60                        1,416.00

  TOTAL                                                          1.60                       S1,416.00




  DETAIL OF SERVICES



  DATE     TIMEKEEPER                DESCRIPTION                                     HOURS AMOUNT
  09/23/11 LUTGENS, CHRISTINE        Review 401(k) auditor report (.9); conf.          1.00  885.00
                                     Michael Nassau re prior year notes (.1).
  09/26/11 LUTGENS, CHRISTINE        Discuss audit footnote disclosures with Carol        0.60      531.00
                                     Rado et al.

  TOTAL                                                                                   1.60   S1,416.00
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 Kramer Levin Naftalis & Frankel LLP          Pg 58 of 61                           Page No. 5

 I FEMAN BROTHERS                                                          October 17,2011
 097657-00077 (EMPLOYMENT ADVICE)                                        Invoice No. 579398




 SUMMARY OF SERVICES



 TIMEKEEPER                  TITLE                         HOURS                           AMOUNT
 LEBLANG, KEVIN B.           PARTNER                           7.90                         6,122.50
 HOLTZMAN, ROBERT N.         PARTNER                           0.40                               296.00
 BAKER, KATRINA L            ASSOCIATE                         0.40                               228.00

 TOTAL                                                          8.7Q                         S6.446,51:1




 DETAIL OF SERVICES



 DATE     TIMEKEEPER                 DESCRIPTION                                      HOURS AMOUNT
 09/01/11 LEBLANG, KEVIN B.          Research re prior lawsuit by employee (.60);       1.00  775.00
                                     emails with T. Hommel re employee
                                     termination (.40).
 09/06/11 LEBLANG, KEVIN B.          Prepared for meeting re employee termination          1.80      1,395.00
                                     (.50); meeting with T. Hommel and colleagues
                                     re employee termination (1.30).
 09/07/11 LEBLANG, KEVIN B.          Reviewed complaint filed by employee to be            0.40       310.00
                                     terminated.
 09/09/11 LEBLANG, KEVIN B.          TC with T. Hommel rear                                0.40       310.00
 09/13/11 BAKER, KATRINA L           Telephone conference with R. Holtzman, D.             0.40       228.00
                                     Scott and P. Vozza regarding WARN Act
                                     questions.
 09/13/11 HOLTZMAN, ROBERT N. Conference call with P. Vozza, K. Baker and                  0.40       296.00
                              D. Scott regarding application of WARN Act
                              to the estate and related issues.
 09/14/11 LEBLANG, KEVIN B.   Met with client re Ilipptennination.                         1.30      1,007.50
 09/15/11 LEBLANG, KEVIN B.   Drafted memo re_____ _.    _ settlement
                                                         .                                 1.60      1,240.00
                              agreement.
 09/17/11 LEBLANG, KEVIN B.   Revised Agreement and Release re            r                0.60       465.00
 09/19/11 LEBLANG, KEVIN B.   Revised Agreement and Release fo a                           0.80       620.00

 TOTAL                                                                                     B.70 •61,646.50
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 LEHMAN BROTHERS                                                              Octobefr, 2011
 097657-00197 (SWABSIN (CYNTHIA))                                           Invoice No. 579398




 SUMMARY OF SERVICES



 TIMEKEEPER                   TITLE                           HOURS                        AMOUNT
 O'NEILL, P. BRADLEY          PARTNER                           0.20                         150.00
 KAYE, JORDAN D               ASSOCIATE                         0.70                         483.00

 TOTAL                                                            0.90                           $633.00




 DETAIL OF SERVICES



 DATE     TIMEKEEPER                    DESCRIPTION                                    HOURS AMOUNT
 09/16/11 O'NEILL, P. BRADLEY           CF J. Kaye re NYS tax subpoena                   0.20  150.00
 09/19/11 KAYE, JORDAN D                Reviewed NYS tax subpoena (.5); discussions        0.70        483.00
                                        w/B. O'Neill re same (.2).

 TOTAL                                                                                     0.99      $633.00




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 LEHMAN BROTHERS                                 -                          October 17, 2011
 097657-00202 (RETENTION MA I IERS/PLE APPLICATION)                       Invoice No. 579398




 SUMMARY OF SERVICES



 TIMEKEEPER                        TITLE                     HOURS                        AMOUNT
 LEBLANG, KEVIN B.                 PARTNER                     0.40                           310.00
 RAPPAPORT, JASON                  ASSOCIATE                   2.90                         1,653.00

 TOTAL                                                            330                      SL9..6.3.111




 SUMMARY OF DISBURSEMENTS AND OTHER CHARGES



 DESCRIPTION                                                            AMOUNT
 POSTAGE                                                                      34.80
 MESSENGERJCOURIER                                                           128.58


 TOTAL DISBURSEMENTS AND OTHER CHARGES                                      S163.38



 DETAIL OF SERVICES



 DATE     TIMEKEEPER                     DESCRIPTION                                     HOURS AMOUNT
 09/01/11 RAPPAPORT, JASON               Finalize invoice for submission; emails with C.   0.20   114.00
                                         Lapin re: same
 09/02/11 RAPPAPORT, JASON               Email from B. Earman re: invoice backup for       0.30   171.00
                                         fee auditor; email C. LaPin, K. Leblang and S.
                                         Mills re: same
  09/06/11 RAPPAPORT, JASON              Emails with C. Lapin and S. Mills re: excel       0.20   114.00
                                         files for fee auditor
  09/07/11 RAPPAPORT, JASON              Emails with C. Lapin re: excel backup for fee     0.10    57.00
                                         auditor
  09/14/11 RAPPAPORT, JASON              Review August time detail                         0.30   171.00
  09/21/11 RAPPAPORT, JASON              Review August invoice; EtnaiIs C. Lapin, K.       0.10    57.00
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 LEHMAN BROTHERS                                 -                          October17, 2011
 097657-00202 (RETENTION MA1 I ERS/FEE APPLICATION)                       Invoice No. 579398



 DATE     TIMEKEEPER               DESCRIPTION                                       HOURS AMOUNT
                                   Leblang re: same
 09/21/11 RAPPAPORT, JASON         Draft supplemental Leblang affidavit                  1.00      570.00
 09/22/11 RAPPAPORT, JASON         Call with S. Mills and emails with C. Lapin re:       0.50      285.00
                                   August invoice; draft cover letter re: same
 09/30/11 RAPPAPORT, JASON         Emails with K. Leblang re: budget                     0.20      114.00
 09/30/11 LEBLANG, KEVIN B.        Prepared budget and emails with J. Rappaport          0.40      310.00
                                   fe: same.

 TOTAL                                                                                   3.30   $1,96_3.00
